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 9                          UNITED STATES DISTRICT COURT
10                         CENTRAL DISTRICT OF CALIFORNIA
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12      JAMES RUTHERFORD, an               Case No. 8:20-cv-01292-JLS-DFM
13      individual,

14                                           ORDER DISMISSING WITH
             Plaintiff,                      PREJUDICE
15
        v.
16

17      FVDD, LLC, a California limited
        liability company; and DOES 1-
18      10, inclusive,
19
             Defendants.
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     Case 8:20-cv-01292-JLS-DFM Document 32 Filed 11/01/21 Page 2 of 2 Page ID #:165


 1          After consideration of the Joint Stipulation for Dismissal of the entire action

 2    with Prejudice filed by Plaintiff James Rutherford (“Plaintiff”) and FVDD, LLC
 3
      (“Defendant”) (Doc. 31), the Court hereby enters a dismissal with prejudice of
 4

 5    Plaintiff’s Complaint in the above-entitled action, in its entirety. Each party shall

 6    bear his or its own costs and attorneys’ fees.
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 8          IT IS SO ORDERED.
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      DATED: November 01, 2021
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11
                                        JOSEPHINE L. STATON
12
                                       HON. JOSEPHINE L. STATON
13                                     UNITED STATES DISTRICT JUDGE
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